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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION


  ROSY GIRON DE REYES, et al.,

                Plaintiffs,
  v.
                                       Civil No.: 1:16-cv-563 (LO) (TCB)
  WAPLES MOBILE HOME PARK
  LIMITED PARTNERSHIP, et al.,

                Defendants.




          DEFENDANTS’ SUPPLEMENTAL MEMORANDUM PURSUANT
                  TO THE COURT’S JULY 28, 2021 ORDER
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        Defendants Waples Mobile Home Park Limited Partnership, Waples Project Limited

 Partnership, and A. J. Dwoskin & Associates, Inc. (“Defendants”) submit this supplemental

 memorandum pursuant to the Court’s July 28, 2021 Order (Dkt. 413) directing the parties to

 address the following issues:

        1. What version of the Policy was “in effect and being applied when Plaintiffs filed suit”?

        2. Whether Defendants’ Policy served a “valid interest” of avoiding criminal liability
           under the Immigration and Reform and Control Act of 1986 (“IRCA”) and U.S. v.
           Aguilar, 477 F. App’x 1000 (4th Cir. 2012) that meets “Step Two” of Texas Dep’t of
           Hous. & Cmt. Affairs v. Inclusive Communities Project, Inc., 576 U.S. 519 (2015).

        3. Whether a Defendant’s motive for adopting a challenged policy impacts its valid
           interest at Step Two of Inclusive Communities and whether a post-hoc rationale for a
           policy undermines that valid interest.

        4. If Defendants’ policy allowing any immigration documents proving legal presence in
           the United States applies, whether any judicial order can redress the female Plaintiffs’
           asserted injuries in this case and whether the male Plaintiffs’ standing relies solely on
           the redressability of the injuries suffered by the female Plaintiffs.

        For the reasons discussed below, reviewing the undisputed record under the controlling

 law, it is clear that this case is appropriate for resolution at summary judgment because there are

 no genuine disputes of material fact and Defendants are entitled to judgment as a matter of law on

 Plaintiffs’ remaining disparate-impact claim under the Fair Housing Act (“FHA”).

                                           ARGUMENT

 I.     Defendants’ Policy In Effect And Applied When Plaintiffs Filed This Lawsuit
        Permitted Residents to Provide Any Document Proving Their Legal Presence.

        The Court is correct that Defendants’ policy in effect and applied when Plaintiffs filed this

 lawsuit on May 23, 2016, permitted residents at the Park to produce any document that proved

 their legal presence in the United States. Plaintiffs have never presented any evidence that, as

 applied to Plaintiffs or any other tenants, Defendants only accepted a passport, a visa, or an I-94.




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        As an initial matter, this issue is not material to any disparate-impact claim Plaintiffs have

 ever asserted in this case. Their claim consistently has been that, by requiring proof of legal

 presence in the United States and thus excluding undocumented immigrants from the Park,

 Defendants discriminated against Latinos because they were disproportionately impacted by the

 requirement. See Compl. ¶ 61. Plaintiffs never previously premised their disparate-impact claim

 on the theory that there are some undocumented Latino immigrants who could have provided

 certain documents showing legal presence, just not a passport, visa, or I-94 form. Plaintiffs’ belated

 attempt to manufacture some dispute of fact about what Policy Defendants applied thus misses the

 mark and is contrary to the claim Plaintiffs consistently have advanced from the start of this case.

        In any event, the record makes clear that the Policy applied to Plaintiffs here did not

 narrowly require prospective residents to supply a passport, visa, or I-94 form. As the Court

 correctly notes, Josephine Giambanco, the Park’s manager responsible for enforcing the Policy at

 the Park, testified that the Defendants accepted any document demonstrating legal presence in the

 United States. Dkt. 151, Ex. 7 at 30:23-31:4 (ECF pgs. 4-5) (“If you don’t have the Social Security

 card, you have to provide current documents that you are legal in the United States, there’s lots of

 documents out there.”) (emphasis added). Even in 2013, when Ms. Giambanco first started her

 employment at the Park, she testified that Defendants would accept any document proving legal

 presence. Id. at 63:18-64:5 (ECF pgs. 6-7) (“If you didn’t have a Social Security card, you had to

 provide a passport, I-94, you had to show some kind of proof for legal presence in the United

 States.”) (emphasis added). Defendants’ other witnesses’ testimony on this subject is in accord.

 Carolina Easton, Defendants’ quality control manager, testified that Defendants would accept any

 document demonstrating legal presence in the United States. Dkt. 151, Ex. 8 at 30:21-32:7; 47:9-

 14; 57:18-21; 96:5-12; 125:3-11. Mark Jones, Defendants’ designee, likewise testified that the




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 Defendants would accept any documents issued by the United States government showing legal

 presence in the United States. Dkt. 151, Ex. 6 at 87-88; 224:16-20.

        The consistent witness testimony aligns with the documentary record. Defendants’ Feb. 9,

 2013 and May 8, 2015 Resident Selection and Occupancy Standards, Dkt. 151 at Exs. 9-10

 respectively, which apply to the Park, id. at Ex. 20 (Jones Decl.), identify a number of documents—

 other than just a passport, visa, and I-94—that could constitute proof of legal residency, including

 permanent resident, temporary resident, and employment authorization cards. See Dkt. 151, Ex. 9

 at 8 (outlining documents accepted such as permanent resident card or employment authorization

 card); Dkt. 151, Ex. 10 at 11 (same).1 The January 24, 2011 Consumer Report & CoreLogic

 SafeRent and Training Manual also identifies various documents that will be accepted to establish

 legal residence. Dkt. 151, Ex. 11 at 50-59. The manual further provides that leaseholders and

 occupants “who do not have [Social Security Numbers], must also prove their identity and provide

 documentation as to their validity in the United States.” Id. at 67 and 68 (emphasis added).

        In an attempt to manufacture a factual dispute when none exists, Plaintiffs have referred to

 certain Resident and Information Guides, which state that applicants without a Social Security

 Number, must submit an original Passport, original Visa and original I-94 or I-94W

 Arrival/Departure Form. Dkt. 361 at 1 (citing Exs. 1 and 2). But, these guides predate the April

 22, 2016 guide in place when Plaintiffs filed suit, which states that applicants must only “provide

 immigration documentations prov[ing] legal presence in the United States[,]” (Dkt. 326-2), and

 they do not speak to how Defendants actually applied the Policy. Otherwise, Plaintiffs have not

 presented any evidence contradicting the consistent testimony on the application of the Policy from



 1
  These documents also state that “all applicants must be legally eligible to live in the U.S.” Dkt.
 151, Ex. 9 at 7; id., Ex. 10 at 9.


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 Defendants’ witnesses sufficient to create a genuine issue of material fact. Plaintiffs also have not

 pointed to any record evidence demonstrating that (i) the female Plaintiffs or any other applicant,

 leaseholder, or occupant attempted to provide documentation of legal presence apart from a

 passport, a visa, or an I-94 or that (ii) Defendants rejected such an attempt as noncompliant with

 the Policy. Nor do Plaintiffs allege or contend that the female Plaintiffs could have provided other

 immigration documents proving legal presence. In the end, Plaintiffs are left with bare unsupported

 allegations and speculation that Defendants’ Policy requires only limited documents. That is not

 remotely sufficient to defeat summary judgment on the issue of the applicable Policy.2

 II.    Defendants’ Policy Serves The Valid Interest At Step Two Of Inclusive Communities
        Of Avoiding Criminal Liability Under The Federal Anti-Harboring Statute.

        Requiring adult residents at Defendants’ Park to provide proof of lawful U.S. residency

 indisputably serves a “valid interest” in Defendants avoiding criminal liability under the IRCA’s

 anti-harboring provision, as construed by the Fourth Circuit in Aguilar.

        Inclusive Communities makes clear that defendants’ Step-Two burden is not a heavy one.

 It requires only that a defendant “state and explain the valid interest served by their policies.” 576

 U.S. at 541 (emphasis added). In addition, the Supreme Court articulated substantial “limitations”

 and “safeguards” governing the application of the burden-shifting framework in order to prevent

 abusive disparate-impact claims that would disrupt the efforts of housing providers and

 policymakers and inject unconstitutional considerations of race into their decisionmaking. Id. at

 544. It first emphasized that “[a]n important and appropriate means of ensuring that disparate-



 2
  See Stone v. Liberty Mut. Ins. Co., 105 F.3d 188, 191 (4th Cir. 1997) (“A party ‘cannot create a
 genuine issue of material fact through mere speculation or the building of one inference upon
 another.’”) (citation omitted); Bouchat v. Balt. Ravens Football Club, Inc., 346 F.3d 514, 519 (4th
 Cir. 2003) (“the mere existence of some alleged factual dispute between the parties will not defeat
 an otherwise properly supported motion for summary judgment”) (citation omitted).


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 impact liability is properly limited is to give housing authorities and private developers leeway to

 state and explain the valid interest their policies serve[.]” Id. at 541. It also stressed that courts

 should avoid “put[ting] housing authorities and private developers in a double bind of liability,

 subject to suit whether they choose to” adopt one policy or another—or none at all. Id. at 542.

        The Court further explained that an FHA disparate-impact case should be dismissed where

 “federal law substantially limits the [defendant’s] discretion” in adopting housing policies. Id. at

 543. It also made clear that “[g]overnmental or private policies are not contrary to the disparate-

 impact requirement unless they are ‘artificial, arbitrary, and unnecessary barriers’” and that courts

 “should avoid interpreting disparate-impact liability to be so expansive as to inject racial

 considerations into every housing decision.” Id. Under these controlling and cautionary principles,

 a policy that identifies undocumented immigrants seeking to rent and live in mobile homes, in

 order to avoid criminal liability under a federal statute that broadly prohibits attempted harboring

 or shielding from detection undocumented immigrants, satisfies Defendants’ Step-Two burden.

        Inclusive Communities makes clear that where some other law “substantially limits” a

 housing provider’s “discretion” and creates the risk of putting the provider in a “double bind of

 liability” no matter the housing policy they adopt, an FHA disparate-impact claim cannot stand.

 So too here. And, particularly given the “leeway” courts must give in determining whether a

 defendant has identified a “valid interest” behind its policy, there is no question that avoiding

 criminal liability under a federal criminal statute meets that standard. See, e.g., Bey v. City of New

 York, 999 F.3d 157, 170-71 (2d Cir. 2021) (rejecting Title VII disparate-impact claim where the

 grooming policy at issue was necessary to comply with a respiratory-protection federal regulation;

 “complying with that legally binding federal regulation is, by definition, a business necessity and

 presents a complete defense to the [plaintiffs’] disparate impact claim”); Williams v. Wells Fargo




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  Bank, N.A., 901 F.3d 1036, 1040-1041 (8th Cir. 2018) (rejecting disparate-impact claim based on

  bank’s termination of employees previously convicted of certain criminal offenses where federal

  law (“Section 19”) prohibited banks from employing such persons; the court of appeals held that

  “non-compliance with Section 19 could place Wells Fargo at risk of daily fines of $1 million” and,

  therefore, “the bank’s decision to comply with the statute’s command is a business necessity under

  Title VII”).3

          Defendants’ Policy directly serves this “valid interest” in avoiding criminal liability. The

  anti-harboring statute broadly prohibits “conceal[ing], harbor[ing], or shield[ing] from detection,

  or attempt[ing] to conceal, harbor, or shield from detection,” an undocumented immigrant “in any

  place, including any building or any means of transportation[,]” either “knowing[ly] or in reckless

  disregard of the fact that an alien has come to, entered, or remains in the United States in violation

  of law. 8 U.S.C. § 1324(a). In Aguilar, the Fourth Circuit specifically addressed the application of

  that statute to a residential landlord. The landlord there was convicted for renting rooms in her

  home to illegal aliens. She claimed that the district court erred in not instructing the jury that it had

  to find that her conduct “tended to substantially facilitate the alien remaining in the United States.”

  477 F. App’x at 1001-02. The Fourth Circuit affirmed the conviction, finding no plain error in the

  refusal to instruct the jury that intent to harbor is an element of the crime. The Fourth Circuit

  explained that “a defendant acts with reckless disregard where she is aware of but consciously

  ignores facts and circumstances clearly indicating that an individual is an undocumented alien.”

  Id. at 1002. And it found that the defendant “recklessly disregarded the risk that [] her tenants




  3
     Title VII disparate-impact authorities are relevant to interpreting the scope of disparate-impact
  liability under the FHA. See Inclusive Cmtys., 576 U.S. at 533 (looking to Title VII cases and
  noting that they “provide essential background and instruction in the case now before the Court”).


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  w[ere] undocumented” because she “took no steps” to ascertain the status of her tenants. Id. at

  1003.4

           Given Aguilar and the broad text of the anti-harboring provision, Defendants had no

  discretion to ignore the potential criminal implications of renting to undocumented immigrants

  and, like Ms. Aguilar, to take “no steps” to ascertain the residency status of the prospective

  occupants at the Park. That is all the more true given the undisputed record in this case, which

  confirms that Defendants face a very real risk of liability under the IRCA if they fail to take steps

  to ensure that they are not allowing undocumented immigrants to live at their Park. According to

  Plaintiffs’ own allegations, a large percentage of undocumented persons in the relevant geographic

  area are Latinos. Compl. ¶¶ 58-63. Therefore, if Defendants ignored facts such as the inability of

  a Latino applicant from another country to provide a social security number or proof of legal status,

  they too could be found to recklessly disregard the fact that applicants could be in the United States

  illegally and, like Ms. Aguilar, convicted of a crime for taking “no steps to ascertain the status of

  [their] tenants.” Aguilar, 477 F. App’x at 1003.5

           In addition, as Plaintiffs also have alleged, undocumented immigrants “cannot obtain

  traditional home mortgages.” Compl. ¶ 55. As a result, making nontraditional, mobile housing

  freely available to such immigrants may be seen as an inducement that “substantially facilitate[s]

  an alien’s remaining in the United States illegally[,]” further supporting a violation of the anti-


  4
     The validity of Defendants’ interest is further reinforced by the fact that the federal government
  itself prohibits undocumented immigrants from residing in federally subsidized housing. See 42
  U.S.C. § 1436a; 24 C.F.R. §§ 5.508-5.512.
  5
     The Court rightly recognized that this concern of potential criminal liability presented a valid
  interest early on in this case. Dkt. 190 at 16-17 (concluding that there is “no question” that lessors
  “could properly and sensibly inquire into the immigration status of a lessee and his adult co-
  habitants” in seeking to avoid criminal liability under the anti-harboring statute); id. at 22 (“as
  federal law makes clear, such an inquiry [into legal status] is not only lawful, but sometimes
  necessary for prudent behavior”).


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  harboring statute. United States v. Tipton, 518 F.3d 591, 595 (8th Cir. 2008); see also Aguilar, 477

  F. App’x at 1001-02. It also means that Defendants reasonably must assume—indeed, they

  know—that many of those seeking housing at the Park are undocumented immigrants, so failing

  to take steps to determine their legal status in offering housing would be reckless and expose

  Defendants to potential criminal liability under the statute.

         Inclusive Communities makes clear that a housing provider cannot be forced to err on the

  side of potential criminal liability if it wishes to avoid disparate-impact liability under the FHA. A

  policy such as Defendants’ that identifies undocumented immigrants and precludes them from

  leasing and living in the Park all but eliminates any prospect of anti-harboring liability and plainly

  cannot be said to be “artificial, arbitrary, and unnecessary.” Defendants accordingly have

  established, as a matter of law, that they have met their Step-Two burden in this case.

  III.   Neither Defendants’ Subjective Motive For Adopting Their Policy Nor Post-Adoption
         Rationales For The Policy Have Any Bearing On Whether The Policy Serves A Valid
         Interest In Avoiding Criminal Liability.

         The Court’s third question focuses on the relevance at Step Two under Inclusive

  Communities’ disparate-impact standard, if any, of a defendant’s motives at the time it adopted a

  policy and whether valid interests served by the policy were developed or discovered after its

  adoption. Under Inclusive Communities, precedents on which Inclusive Communities relies, the

  statutory text, and regulations issued by the Department of Housing & Urban Development (HUD),

  neither a defendant’s subjective motive—at the time of a policy’s adoption or otherwise—nor

  when the defendant subjectively developed a rationale for its policy have any bearing at Step Two

  and whether Defendants can meet their burden to show their Policy serves a valid interest.

         To begin with, the FHA itself makes no mention of a defendant’s subjective intent at the

  time it adopts a challenged housing policy or practice, or confine an examination of a defendant’s

  rationales for its policy to what defendant knew or believed at the time of adoption. Rather, the


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  statute defines the prohibited conduct as the specific application of a policy or practice to a specific

  person and transaction, strictly in the present tense, making it unlawful “to refuse to sell or rent ...,

  or to refuse to negotiate for the sale or rental of, or otherwise make unavailable or deny, a dwelling

  to any person” on the basis of “race, color, religion, sex, familial status, or national origin.” 42

  U.S.C. § 3604(a) (“Section 804(a)”).

          Had Congress wished to prohibit the past and original act of adopting a rental or sale policy

  that, on its face, has or could have a disparate impact—and make subjective intent at the time of

  adoption an element of such a claim—it easily could have done so. But it did not. See Rubin v.

  Islamic Republic of Iran, 138 S. Ct. 816, 826 (2018) (citation omitted) (“Had Congress” meant for

  subjective intent at the time of adoption to be relevant, “it knew how to say so”). Instead, as noted,

  Congress used present-tense verbs focused on specific conduct and transactions—selling, leasing,

  or “mak[ing] unavailable” a “dwelling[,]” but not merely “adopting” a “policy.” And, unlike

  Section 804(a)’s disparate-treatment cause of action—which does require proof of a defendant’s

  intent, see Inclusive Cmtys., 576 U.S. at 524—there is nothing in the statute that extends that

  requirement to disparate-impact claims, or otherwise makes a defendant’s intent relevant. Id.

  (describing disparate-impact theory as “[i]n contrast” with disparate-treatment’s “intent or motive”

  requirement). These textual features—or the absence thereof—are significant and must be given

  effect. See Barr v. Am. Ass’n of Political Consultants, 140 S. Ct. 2335, 2349 (2020) (“[C]ourts

  today zero in on the precise statutory text”); United States v. Wilson, 503 U.S. 329, 333 (1992)

  (“Congress’ use of a verb tense is significant in construing statutes.”).

          The statutory scheme, in turn, explains HUD’s 2013 regulation fleshing out the burden-

  shifting standard. Specifically, at Step Two, HUD’s regulation requires defendants to “prov[e] that

  the challenged practice is necessary”—present tense—“to achieve one or more substantial,




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  legitimate, nondiscriminatory interests.” 24 C.F.R. § 100.500(c)(2) (2013).6 Like FHA § 804(a),

  the regulation does not refer to past adoption of a policy or a defendant’s subjective motivation or

  actual rationale at the time it adopted the policy, let alone require proof of any of this before a

  defendant can meet its burden at Step Two. To the contrary: the regulation asks what valid interests

  the policy or practices serves in the present.

         Inclusive Communities, and the precedents on which it relies, confirm what the statutory

  text and HUD’s regulation provide. First, Inclusive Communities provides that disparate-impact

  defendants must be given “leeway to state and explain the valid interest served by the policies[,]”

  576 U.S. at 541 (emphasis added), not “to state and explain the valid interest of defendants that

  actually motivated the adoption of the policies” at issue. Strictly constraining housing providers to

  defend their policies on the basis of rationales they actually had in mind at the time of the policies’

  adoption is directly at odds with the “leeway” Inclusive Communities demands.

         Second, Inclusive Communities, and cases it cites, repeatedly stress that the text of FHA

  § 804(a)—like that of Title VII and the ADEA—“‘focuses on the effects of the action on the

  employee rather than the motivation for the action of the employer[.]’” Id. (quoting Smith v. City

  of Jackson, 544 U.S. 228, 236 (2005)); id. at 534 (“Congress’ use of the phrase ‘otherwise make

  unavailable refers to the consequences of an action rather than the actor’s intent.”); id. (reasoning

  that “[i]n these three statutes the operative text looks to results” and “consequences, not intent”).

  All of this aligns, moreover, with the settled distinction in the law between disparate-treatment and

  disparate-impact liability, with the former focused on and requiring discriminatory intent, and the

  latter focused on and requiring discriminatory effect. See id. at 524; Raytheon Co. v. Hernandez,


  6
     As a HUD agency regulation construing a statute HUD is authorized to enforce (see 42 U.S.C.
  § 3614a), Section 100.500(c)(2) is entitled to deference. See Encino Motorcars, LLC v. Navarro,
  136 S. Ct. 2117, 2125 (2016).


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  540 U.S. 44, 52-53 (2003) (highlighting “distinction between” disparate-treatment and disparate-

  impact claims” insofar as “[l]iability in a disparate-treatment case ‘depends on whether the

  protected trait . . . actually motivated’” the conduct at issue, while disparate-impact claims target

  discriminatory effect regardless of defendant’s “subjective intent”) (cleaned up).7

         Third, Inclusive Communities directs courts to avoid “put[ting] housing authorities and

  private developers in a double bind of liability, subject to suit” no matter what policy or practice

  they adopt. Id. at 542. If, however, a defendant, sometime after adoption of a policy, realizes that

  its policy serves a valid interest in avoiding liability under another law—but, as Plaintiffs would

  have it, the defendant is not permitted to defend its policy on that basis—then the defendant will

  be placed in precisely the “double bind” that Inclusive Communities prohibits.8 And where, as

  here, that “double bind” entails possible criminal conviction and imprisonment, it is all the more

  impermissible.

         Nothing in the text of the FHA or HUD’s 2013 regulation gives even a hint that Congress

  or the agency believed that a defendant’s motivation at the time it adopted a housing policy—or

  the fact that a valid rationale for the policy was developed after its adoption—could be used to

  establish disparate-impact discrimination notwithstanding the existence of valid interests

  supporting the policy. For their part, Inclusive Communities and other Supreme Court precedents

  make clear that disparate-impact liability focuses on the consequences of an action, not the

  motivation behind it, and that defendants must be given wide “leeway” in defending their policies


  7
     In contrast to this precedent, Plaintiffs have not pointed to a single appellate decision endorsing
  their “subjective intent/time-of-adoption” construct. And, as Defendants previously explained, the
  two recent out-of-circuit district court decisions Plaintiffs cite are distinguishable and do not claim
  that Inclusive Communities supports their reasoning. (Dkt. 393 at 7-8.)
  8
     To be clear, as Defendants previously have argued, their valid interest in avoiding liability under
  the anti-harboring statute is not a so-called “post hoc rationale” for their Policy. E.g., Dkt. 265 at
  14-15; Dkt. 342 at 5-6.


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  at Step Two. Discrimination law already covers motive—through disparate-treatment claims,

  claims which Plaintiffs have abandoned in this case. There is, at bottom, no basis for inserting

  words into the text of the FHA that would impose a snapshot-frozen-in-time approach to assessing

  liability for discrimination, and put defendants in a “double bind” of liability in the event they did

  not have—or, perhaps, could not have had—a particular reason for a policy in mind at the time

  they adopted it. And this is especially true in this case, where Plaintiffs’ proposed new theory of

  liability predicated on so-called “post hoc rationales” is without support in appellate precedent and

  had no case law support at all at the time Defendants adopted their Policy.

  IV.     Plaintiffs Have Offered No Proof Of A Less Discriminatory Policy That Would
          Exclude Undocumented Immigrants And Achieve The Valid Interest In Avoiding
          Criminal Liability.

          As shown above, Defendants’ Policy achieves a valid interest in avoiding criminal liability

  under the anti-harboring statute as a matter of law. That means Plaintiffs can only avoid summary

  judgment on their disparate-impact claim if they can produce evidence that this same valid interest

  can “be served by another practice that has a less discriminatory effect.” Inclusive Communities,

  576 U.S. at 527 (citing 24 C.F.R. § 100.500(c)(3)). As the Court indicates, they cannot do so.

          The Court is right to note that, assuming Defendants can meet their Step-Two burden, “only

  policies that exclude ‘illegal aliens’ are viable alternatives at Step Three of Inclusive

  Communities.” (Dkt. 413 at 3.) In other words, only policies that have the same discriminatory

  exclusionary effect on undocumented immigrants as the Policy does can achieve the valid interest

  of avoiding liability under the anti-harboring statute—which means Plaintiffs cannot meet their

  Step-Three burden as a matter of law. See Inclusive Cmtys., 576 U.S. at 533 (“[B]efore rejecting a

  business justification” or valid interest proffered by a defendant, “a court must determine that a

  plaintiff has shown that there is ‘an available alternative . . . practice that has less disparate impact

  and serves the [entity’s] legitimate needs.’”) (citation omitted; emphasis added). Nor have


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  Plaintiffs ever attempted to identify a less discriminatory policy that could achieve avoidance of

  criminal liability as effectively as does Defendants’ Policy, let alone offer evidence to prove it.9

  As the Court has acknowledged, the only way to alleviate the concerns of potential criminal

  liability is to require that adult residents of the Park produce immigration documents showing

  proof of legal presence in the United States—just as the Policy does here. As a result, Plaintiffs

  cannot meet their Step-Three burden and Defendants are entitled to summary judgment on

  Plaintiffs’ disparate-impact claim.

         The Court proceeds to ask whether, if Plaintiffs were required by the Policy to provide

  proof of legal presence, there is any way the Court can redress the female Plaintiffs’ asserted

  injuries from being excluded from the Park. Since any alternative to Defendants’ Policy could only

  achieve the valid interest of avoiding criminal liability under the anti-harboring statute by—like

  the Policy—excluding undocumented immigrants, it would not redress Plaintiffs’ harm from being

  excluded from the Park, and thus the Plaintiffs lack standing. In order to establish standing, the

  third and final element of standing requires that “it must be ‘likely,’ as opposed to merely

  ‘speculative,’ that the injury will be ‘redressed by a favorable decision.’” Lujan v. Defs. of Wildlife,

  504 U.S. 555, 561 (1992). “Relief that does not remedy the injury suffered cannot bootstrap a

  plaintiff into federal court; that is the very essence of the redressability requirement.” Steel Co. v.

  Citizens for a Better Env’t, 523 U.S. 83, 107 (1998). To meet redressability at the summary-

  judgment stage, a plaintiff must point to evidence of “specific, concrete facts demonstrating that



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     The premise of Plaintiffs’ disparate-impact claim is that any policy directed at undocumented
  immigrants in the area in which the Park is located would have a disparate impact on Latinos,
  Compl. ¶ 61, who, according to Plaintiffs, make up the majority of undocumented immigrants in
  that area, id. ¶¶ 55-63. Plaintiffs have never offered (and could never offer) any alternative policy
  that would avoid potential criminal liability under the IRCA and Aguilar because according to
  Plaintiffs’ faulty theory, any alternative policy that excludes undocumented immigrants would run
  afoul of the FHA.


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  the challenged practices harm him, and that he personally would benefit in a tangible way from

  the court’s intervention.” Warth v. Seldin, 422 U.S. 490, 508 (1975).

         The Plaintiffs cannot, as a matter of law, meet their burden of demonstrating redressability.

  At Step Three, as noted, any alternative to Defendants’ Policy would likewise require verification

  of proof of legal status of adult residents at the Park to avoid potential criminal liability under the

  IRCA and Aguilar—and it is undisputed that the female Plaintiffs cannot provide such proof. As

  the Court correctly notes, [t]here is no dispute that the female Plaintiffs are undocumented

  immigrants and cannot satisfy the 2015 revised policy[.]” (Dkt. 413 at 3.) There is nothing this

  Court can do to prevent the female Plaintiffs from being excluded from the Park and thus Plaintiffs’

  alleged injury cannot be redressed. See Marshall v. Meadows, 105 F.3d 904, 907 (4th Cir. 1997)

  (holding that because a state party’s decision to hold an open primary was voluntary and lawful,

  there is “nothing this court can do” and thus the alleged injury cannot be redressed).

         The Court also asks “whether the male Plaintiffs’ standing relies solely on the redressability

  of the injuries suffered by the female Plaintiffs.” (Dkt. 413 at 3.) It does. The male Plaintiffs are

  legally present and can meet—and have met—Defendants’ Policy. It is undisputed that they were

  able to enter into leases at the Park, renew leases until the Policy was enforced on their wives, and

  they even admit that they were never denied the right to enter into rental agreements at the Park

  because they were Latino. Compare Dkt. 98 at pg. 5, Facts 11-13 (Defs.’ Mem. Supp. Mot. Summ.

  J.) with Dkt. 138 at pg. 2, Facts 11-13 (Pls.’ Opp. to Defs.’ Mem. Supp. Mot. Summ. J.). The male

  Plaintiffs—as opposed to their wives—thus are not injured by the Policy because it does not

  exclude them from renting and living at the Park.

         Further, it is undisputed that the male Plaintiffs’ alleged injuries arise solely because their

  wives cannot comply with the Policy. But it is well-settled that a plaintiff only “has standing to




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  seek redress for injuries done to him, but may not seek redress for injuries done to others.” Moose

  Lodge No. 107 v. Irvis, 407 U.S. 163, 166 (1972); Johnson v. O’Brien, No. 7:08-cv-00022, 2008

  U.S. Dist. LEXIS 41546, at *28 n.9 (W.D. Va. May 27, 2008) (holding that plaintiff “may not

  bring any claim on behalf of his wife” because he does not have standing to seek redress for injuries

  done to others) (citing Moose Lodge, 407 U.S. at 166). As this Court recently explained,

  “justiciability and standing are not always coextensive as to plaintiffs, and, generally, the standing

  of one does not bear on the standing of another. ‘[W]hen standing is placed in issue in a case, the

  question is whether the person whose standing is challenged is a proper party to request an

  adjudication of a particular issue and not whether the issue itself is justiciable.’” Long v. Barr, 451

  F. Supp. 3d 507, 531 (E.D. Va. 2020) (quoting Flast v. Cohen, 392 U.S. 83, 98, 99-100 (1968)).

         When these requirements are applied to the male Plaintiffs, they compel the dismissal of

  the male Plaintiffs’ FHA disparate-impact claims as well. The male Plaintiffs’ standing relies

  solely on the redressability of the alleged injuries suffered by the female Plaintiffs, and as noted

  above, there is nothing this Court can do to prevent the female Plaintiffs from being excluded from

  the Park.

                                            CONCLUSION

         For the foregoing reasons, Defendants request that the Court grant summary judgment in

  their favor and enter judgment dismissing Plaintiffs’ remaining disparate-impact claim.




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  Dated: August 24, 2021       Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

         I hereby certify that on the 24th day of August, 2021, I caused the foregoing to be filed

  electronically with the Clerk of the Court using CM/ECF, which will then send a notification of

  such filing to all counsel of record.



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